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ATTORNEY FOR DEFENDANT




                          IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                             )
                                                      )       CASE NO. 3:14-CR-00282-KI-1
                       Plaintiff;                     )
                                                      )       PETITION TO ENTER PLEA
       vs.                                            )       OF GUILTY, CERTIFICATE
                                                      )       OF COUNSEL, AND ORDER
TIJNG WING HO,                                        )       ENTERING PLEA.
                                                      )
                       Defendant.                     )

       The defendant represents to the court:

       1.      My name is TIJNG WING HO. I am 36 years old. I have gone to school up to and

including Graduate School fur MBA.

       2.      My attorney is Mark C. Cogan and Jeffrey A. Tllllloy.

       3.      My attorney and I have discussed my case fully. I have received a copy of the

Indictment or Information. I have read the Indictment or Information, or it has been read to me, and

I have discussed it with my attorney. My attorney has counseled and advised me concerning the

nature of each charge, any lesser-included offense(s), and the possible defenses that I might have in


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this case. I have been advised and understand that the elements of the charges alleged against me

to which I am pleading ''GUILlY'' are as follows:

        Count 1: Starting not later than August 2012 and continuing through approximately March

2014, within the District of Oregon and elsewhere, I, Kyle Keoki Yamaguchi, and Jason Michael

Keating, unlawfully and knowingly agreed, combined, and conspired to transport, receive, possess,

and sell stolen goods that have traveled in interstate or foreign cormrerce, to wit, basketball shoes

stolen from Nike, Inc., in violation of Title 18 United States Code, Sections 2314 and 2315, and in

violation of Title 18 United States Code, Section 3 71.

        I have had a full and adequate opporttmity to disck.lse to my attorney all fucts known to me

that relate to my case. I understand that the Court may ask whether I am satisfied with the advice I

have received from my attorney.

        4.      I know that if I plead ''GUILTY," I will have to answer any questions that the judge

asks me about the offense(s) to which I am pleading guihy. I also know that if I answer fulsely,

under oath, and in the presence of my attorney, my answers could be used against me in a

prosecution for perjury or fulse statement.

        5.      I am not under the influence of alcohol or drugs. I am not suffering from any injury,

illness or disability affecting my thinking or my ability to reason I have not taken any drugs or

medications within the past seven (7) days.

        6.      I understand that conviction of a crime can resuh in consequences in addition to

imprisonment. Such consequences include deportation, or removal from the United States, or denial

of naturalization, if I am not a United States citizen; k.lss of eligibility to receive federal benefits; loss

of certain civil rights (which may be temporary or permanent depending on applicable state or federal


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law), such as the right to vote, to hold public office, and to possess a firearm; and k.lss of the

privilege to engage in certain occupations licensed by the state or fuderal government.

        7.      I know that I rmy plead "NOT GUILTY'' to any crirre charged against me and that

I may persist in that plea if it has already been rm.de. I know that if I plead "NOT GUILTY'' the

Constitution guarantees me:

                a.       The right to a speedy and public trial by jury, during which I
                will be presumed to be innocent unless and until I am proven guilty
                by the government beyond a reasonable doubt and by the unaninxms
                vote of twelve jurors;

                b.      The right to have the assistance of an attorney at all stages of
                the proceedings;

                c.     The right to use the power and process of the court to compel
                the production of evidence, including the attendance of witnesses in
                myfuvor;

                d.      The right to see, hear, confront, and cross-examme all
                witnesses called to testify against me;

                e.      The right to decide for myself whether to take the witness
                stand and testify, and if I decide not to take the witness stand, I
                understand that no infurence of guih may be drawn from this
                decision; and

                t:      The right not to be compelled to incriminate myself

        8.      I know that ifl plead ''GUILTY" there will be no trial before either a judge or a jury,

and that I will not be able to appeal from the judge's denial of any pretrial motions I may have filed

concerning rmtters or issues not related to the court's jurisdiction




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        9.      In this case I am pleading ''GUILTY'' under Rule 1 l(c)(l)(B). My attorney has

explained the effuct of my plea under Rule 1 l(c)(l)(B) to be as fulbws:

               My plea of guihy is under Rule 1 l(c)(l)(B); therefore, although the
               judge will consider the recommendations and agreements of both the
               prosecution and defense attorneys concerning sentencing, the judge
               is not obligated to folbw those recommendations or agreements. If
               the judge imposes a sentence diffurent from what I expected to
               receive under the terms of my Plea Agreement with the prosecutor,
               I do not have a right to withdraw my plea.

        10.     I know the maximum sentence which can be imposed upon me for the crime(s) to

which I am pleading guihy is 5 years' imprisonment and a fine of$250,000.

        11.     I know that the judge, in addition to any other penahy, will order a special assessment

as provided by law in the atmunt of $100 per count of conviction

        12.     I know that if I am ordered to pay a fine, and I willfully refuse to pay that fine, I can

be returned to court, where the atmunt of the unpaid balance owed on the fine can be substantially

increased by the judge and I can be imprisoned for up to one year.

        13.     My attorney has discussed with me the Federal Sentencing Guidelines. I know that

the Guidelines are advisory, not mandatory.     I also know the sentencing judge, in determining the

particular sentence to be imposed, must consider those fuctors set forth in Title 18, United States

Code, Section 3553(a), including but not limited to: the nature and circlilllStances of the offense, my

own history and characteristics, the goals of sentencing (punishment, deterrence, protection and

rehabilitation) and the sentencing range established by the advisory Guidelines. If my attorney or

any other person has calculated a guideline range for me, I know that this is only a prediction and

advisory and that it is the judge who makes the final decision as to what the guideline range is and

what sentence will be imposed. I also know that a judge may not impose a sentence greater than the


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rmximum sentence referred to in paragraph ( 10) above.

        14.     I know from discussion with my attorney that, under the Federal Sentencing

Guidelines, if I am sentenced to prison I am not entitled to parole. I will have to serve the full

sentence imposed except for any credit for good behavior that I eam I can earn credit for good

behavior in prison at a rate of up to 54 days for each year of imprisonment served. Credit for good

behavior does not apply to a sentence ofone year or less.

        15.     I know that if I am sentenced to prison, the judge will impose a term of supervised

release to follow the prison sentence. During my supervised release term I will be supervised by a

probation officer according to tenns and conditions set by the judge. In my case, a term of supervised

release can be up to 3 years. If I violate the conditions of supervised release, I may be sent back to

prison for up to 3 years.

        16.     I know that in addition to or in lieu of any other penalty, the judge can order

restitution payments to any victim of any offense to which I plead guilty. I am also infurmed that,

fur certain criires of violence and crirres involving fraud or deceit, it is mandatory that the judge

impose restitution in the full amount of any financial bss or harm caused by an offunse. If imposed,

the victim can use the order ofrestitution to obtain a civil judgment lien A restitution order can be

enforced by the United States for up to twenty (20) years from the date of my release from

imprisomnmt, or, if I am not imprisoned, twenty (20) years from the date of the entry of judgment.

If I willfully refu'ie to pay restitution as ordered, a judge may resentence   ~   to any sentence which

couki originally have been imposed.

        17.     On any fine or restitution in an armunt of $2,500 or tmre, I know that I will be

required to pay interest unless that fine or restitution is paid within fifteen ( 15) days from the date


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of the entry ofjudgrrent.

        18.     Ifl am on probation, parole, or supervised release in any other state or federal case,

I know that by pleading guiliy in this comt my probation, parole or supervised release may be

revoked and I may be required to serve tirre in that case, which may be consecutive, that IB, in

addition to any sentence imposed on me in this comt.

        19.     Ifl have another case pending in any state or federal court, I know that my Petition

and Plea Agreement in this case do not, in the absence of an express and written agreement, apply

to my other case(s), and that I can be fuced with consecutive sentences of imprisonment.

        20.       My plea of "GUILTY" IB based on a Plea Agreement that I have made with the

prosecutor. That Plea Agreement IB attached hereto and incorporated herein. I have read or had read

to me the Plea Agreement, and I llllderstand the Plea Agreement.

        21.     The Plea Agreement contains the only agreement between the United States

government and me. No officer or agent of any branch of government (fuderai state or local) or

anyone else has    pro~ed     or suggested that I will receive a lesser term of imprisonment, or

probation, or any other form of leniency if I plead "GUILTY'' except as stated in the Plea

Agreement. I llllderstarxi that I cannot rely on any      pro~e     or suggestion made to me by a

government agent or officer which IB not stated in writing in the Plea Agreement, or which IB not

presented to the judge in my presence in open comt at the time of the entry of my plea of guiliy.

        22.     My plea of''GUILTY" IB not the result of force, threat, or intimidation

        23.     I hereby request that the judge accept my plea of ''GUILTY" to the following collllts:

                Collllt 1, Conspiracy to Transport, Receive, and Sell Stolen Goods.

        24.     I know that the judge must be satisfied that a crirre occurred and that I committed that


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crirre before my plea of''GUILIT' can be accepted. With respect to the charges to which

I am pleading guihy, I represent that I did the following acts and that the following mets are true:

        Count 1: Starting not later than August 2012 and continuing through approxirrately March

2014, within the Di'>trict of Oregon and elsewhere, I, Kyle Keoki Yamaguchi, and Jason Michael

Keating, tmlawfully and knowingly agreed, combined, and conspired to transport, receive, possess,

and sell stolen goods that have traveled in interstate or foreign cormnerce, to wit, basketball shoes

stolen from Nike, Inc., in violation of Title 18 United States Code, Sections 2314 and 2315, and in

violation of Title 18 United States Code, Section 3 71.

        25.      I offer my plea of''GUILTY" freely and voluntarily and of my own accord and with

a full understanding of the allegations set forth in the Indictrrent or Information, and with a full

understanding of the statements set forth in th1" Petition and in the Certificate of my attorney that

1" attached to th1" Petition.

         SIGNED by me in the presence of my attorney, after reading (or having had read to me) all

of the foregoing pages and paragraphs of th1" Petition on th1"   l.c1~ay of April, 2015.


                                                  Deferxlant      ~



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                                      CERTIFICATE OF COUNSEL

         The tmdersigned, as attorney fur defendant TIJNG WING HO, hereby certifies:

         1.         I have fully explained to the defendant the allegations contained in the Indicnrent or

lnfurrration in this case, any lesser-included o:frense(s), and the possible defenses which may apply

in this case.

         2.         I have personally examined the attached Petition To Enter Plea of Guihy And Order

Entering Plea, explained all its provisions to the defendant, and discussed fully with the defendant

all matters described and referred to in the Petition.

         3.         I have explained to the defendant the maximum penahy and other consequences of

entering a plea of guilty described in paragraphs (6)-(20) of the Petition, and I have also explained

to the defendant the applicable Federal Sentencing Guidelines.

         4.         I recornrend that the Court accept the defendant's plea of"GUILTY."

         SIGNED by me in the presence of the above-named defendant, and after full discussion with

the defendant of the contents of the Petition To Enter Plea of Guihy, and any Plea Agreement, on

this (_ 0       day of April, 2015.




                                                   Attorney for Defendant




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                                   ORDER ENTERING PLEA

       I find that the defendant's plea of GUILTY has been made freely and vohmtarily and not out

of ignorance, fear, inadvertence, or coercion. I further find the defendant has admitted mets that

prove each of the necessary elements of the   c~(s)   to which the defendant has pled guilty.

       IT IS 1HEREFORE ORDERED that the defendant's plea of GUILTY be accepted and

entered as requested in this Petition and as recorrnrended in the Certificate of defendant's attorney.
                         sT
       DATED this    :J/ aayof April, 2015, in open cotut.




                                                Judge, U.S. District Cotut
